   Case: 1:18-cv-05369 Document #: 73 Filed: 07/15/19 Page 1 of 2 PageID #:2541




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                             Plaintiff,

                        v.

    CAMBIUM NETWORKS, INC.;                           Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                               JURY TRIAL DEMANDED
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV.

                             Defendants.


                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on July 18, 2019 at 9:00 a.m., the undersigned shall
appear before the Honorable Gary Feinerman in Courtroom 2125 of the Dirksen Federal
Building, 219 S. Dearborn Street, Chicago, Illinois, and shall then and there present Plaintiff
Ubiquiti Networks, Inc.’s Motion to Lift Stay of Discovery, a copy of which is herewith
served upon you.

Dated: July 15, 2019

                                           Respectfully submitted,


                                           FOX SWIBEL LEVIN & CARROLL LLP

                                           /s/ Jason J. Keener
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                                           Attorneys for Plaintiff Ubiquiti Networks, Inc.
   Case: 1:18-cv-05369 Document #: 73 Filed: 07/15/19 Page 2 of 2 PageID #:2541




                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on July 15, 2019, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.



                                                   /s/ Jason J. Keener
                                                   Jason J. Keener
